    Case: 1:18-cv-05086 Document #: 52 Filed: 04/19/19 Page 1 of 3 PageID #:305



                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

TONYA FACEY,                                 )
on behalf of plaintiff and a class,          )
                                             )
               Plaintiff,                    )       No. 18-cv-05086
                                             )
       v.                                    )
                                             )
                                             )       Judge John Z. Lee
STUDENT LOAN SOLUTIONS, LLC;                 )
and WILLIAMS & FUDGE, INC.,                  )
                                             )
                                             )
               Defendants.                   )

  DEFENDANTS STUDENT LOAN SOLUTIONS LLC’S AND WILLIAMS & FUDGE,
     INC.’S MOTION TO WITHDRAW COUNTERCLAIM AND MOTION FOR
        JUDGMENT ON THE PLEADINGS AS TO PLAINTIFF’S CLAIMS

       Defendants Student Loan Solutions LLC and Williams & Fudge, Inc. hereby move to

withdraw (1) their motion for judgment on the pleadings as to Plaintiff’s amended complaint and

(2) Student Loan Solutions, LLC’s counterclaim to plaintiff’s amended complaint.

       WHEREFORE, Defendants Student Loan Solutions LLC and Williams & Fudge, Inc.

respectfully request the Court enter an order withdrawing the motion for judgment on the pleadings

and Student Loan Solutions, LLC’s counterclaim to plaintiff’s amended complaint.


Dated: April 19, 2019.


                                             Respectfully submitted,

                                      By:    /s/Emily J. Fitzgerald
                                             Counsel for defendants
                                             Student Loan Solutions, LLC and
                                             Williams & Fudge, Inc.




                                                 1
   Case: 1:18-cv-05086 Document #: 52 Filed: 04/19/19 Page 2 of 3 PageID #:306




Joseph P. Kincaid—ARDC No. 6202639
Emily J. Fitzgerald—ARDC No. 6305923
SWANSON, MARTIN & BELL, LLP
330 North Wabash Ave. Suite 3400
Chicago, Illinois 60611
jkincaid@smbtrials.com
efitzgerald@smbtrials.com
Office: (312) 321-9100
Fax: (312) 321-0990




                                        2
    Case: 1:18-cv-05086 Document #: 52 Filed: 04/19/19 Page 3 of 3 PageID #:307




                                CERTIFICATE OF SERVICE

        The undersigned certifies that a copy of the foregoing Student Loan Solutions LLC’s
Williams & Fudge, Inc.’s Motion to Withdraw the Motion For Judgment on the Pleadings as to
Plaintiff’s Claims and Motion to Withdraw Student Loan Solutions LLC’s Counterclaim was
served upon all counsel of record via the Court ECF system, this the 19th day of April, 2019.

[] Under penalties as provided by law, the undersigned certifies that the statements set forth in
    this Certificate of Service are true and correct.


                                              /s/Emily J. Fitzgerald




                                                 3
